 1    John E. Bucheit
      IL Bar 6255684
 2    PARKER, HUDSON, RAINER & DOBBS LLP
      Two N. Riverside Plaza, Suite 1850
 3    Chicago, Illinois 60606
      Telephone:     (312) 477-3305
 4    Facsimile:     (404) 522-8409
      Email:         jbucheit@phrd.com
 5

 6    Attorney for Chicago Insurance Company,
      Fireman’s Fund Insurance Company and Westport
 7    Insurance    Corporation   (f/k/a  Employers
      Reinsurance Corporation)
 8
                                   UNITED STATES BANKRUPTCY COURT
 9                                 NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
10

11    In Re:                                                     Case No.: 23-30564

12    THE ROMAN CATHOLIC ARCHBISHOP OF                           Chapter 11
      SAN FRANCISCO,
13                                                               Hon. Dennis Montali
                        Debtor.
14                                                               APPLICATION FOR ADMISSION
                                                                 OF ATTORNEY PRO HAC VICE
15

16             Pursuant to B.L.R. 1001-2(a) and Civil L.R. 11-3, John E. Bucheit, an active member in good

17   standing of the bar of the State of Illinois, hereby applies for admission to practice in the Northern

18   District of California on a pro hac vice basis representing Chicago Insurance Company (“CIC”),

19   Fireman’s Fund Insurance Company (“FFIC”), and Westport Insurance Corporation, formerly

20   known as Employers Reinsurance Corporation (“Westport”) in the above-entitled action.

21             In support of this application, I certify on oath that:

22              1.     I am an active member in good standing of a United States Court or of the highest

23    court of another State or the District of Columbia, as indicated above;

24              2.     I have been granted pro hac vice admission by the Court three times in the 12 months

25    preceding this application, with one application pending;

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27    //

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                           APPLICATION 09/01/23  Entered:
                                          ADMISSION       09/01/23
                                                    OF ATTORNEY    14:43:37
                                                                 PRO HAC VICE Page 1 of 3
 1          3.     I agree to abide by the Standards of Professional Conduct set forth in Local Rule 11-

 2   4, and agree to become familiar with the Local Rules and the Bankruptcy Dispute Resolution

 3   Program of this Court; and,

 4          4.     Attorneys who are members of the bar of this Court in good standing and who

 5   maintain offices within the State of California have been designated as co-counsel in the above-

 6   entitled action. The name, address and telephone number of each such attorney is:

 7                 For CIC and FFIC                                        For Westport
               Matthew C. Lovell (SBN 189728)
 8              Laura H. Smith (SBN 136117)                      Blaise S. Curet (SBN 124983)
            NICOLAIDES FINK THORPE MICHAELIDES               SINNOTT, PUEBLA, CAMPAGNE & CURET,
 9                   AND SULLIVAN LLP                                        APLC
              101 Montgomery Street, Suite 2300                  2000 Powell Street, Suite 830
10             San Francisco, California 94104                    Emeryville, California 94608
                       (415) 745-3770                                   (415) 352-6200
11

12   I declare under penalty of perjury that the foregoing is true and correct.
13   Dated: September 1, 2023
14
                                              /s/ John E. Bucheit
15                                            John E. Bucheit
                                              PARKER, HUDSON, RAINER & DOBBS LLP
16                                            Two N. Riverside Plaza, Suite 1850
                                              Chicago, IL 60606
17                                            Telephone: (312) 477-3305
                                              Email: jbucheit@phrd.com
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